Case: 3:19-mj-00488-MJN Doc #: 1 Filed: 08/09/19 Page: 1 of 5 PAGEID #: 1

AO 196 (Rev. 94/10) Agplication for a Search Warrant

UNITED STATES DISTRICT COURT

for the

Southern District of Ohto Lbi9 Phin

in the Matter of the Search of
(Briefly describe the property to be searched
or identify the person by name and address)

= A

Case No.

Priority Mail Package Tracking Number 95055 144618392 19574567,
postmarked August 7, 2019 addressed Staten Family 1310 DANNer Ave.
DAyTON OH. 45417 with a return address of MARKus Lewis 4326 LAurel
CANYON #1 Studio City, CA. 91604

MICHAEL J. NEWMAN

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APPLICATION FOR A SEARCH WARRANT”

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I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
property te be searched and give its location):

Priority Mail Package Tracking Number 95055 144618392 19574567

located in the Southern District of Ohio , there is now concealed (identify the

person or describe the property to be seized):
Controlled Substances, materials and documents reflecting the distribution of controlled substances through
the U.S. Mails, including money and/or monetary instrumenis paid for controlled substances

The basis for the search under Fed. R. Crim. P. 41{c) ts (check one or more):
[<j evidence of a crime;
[Xi contraband, fruits of crime, or other items illegally possessed;
[-} property designed for use, intended for use, or used in committing a crime;

[ia person to be arrested or a person who is unlawfully restrained.

The search is related to a violation of: Title 21

Code Section Offense Description
841 (a) (1), 843 (b) & 846 Possession with intent to distribute a controlled substance
Use of communication facility to commit felony
Conspiracy to distribute a controlled substance

The application is based on these facts:
See attached affidavit of U.S. Postal Inspector Rossiter
[<} Continued on the attached shee

|} Delayed notice __ days (give exact ending date if more than 30 days: } is requested
under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.

  
  

Applicaing si signature

“soseph Li. Rossiter, LO \& ‘Postal Inspector

Prinied name Mri vitle

Sworn to before me and signed in my presence

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Sy = Sol Judge '§ signature

y ao : Honorable Michael }. Newman
iby WSS wnyiens while — United States Magistrate Judge

Printed name and title

  
Case: 3:19-mj-00488-MJN Doc #: 1 Filed: 08/09/19 Page: 2 of 5 PAGEID #: 2

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF OHIO
DAYTON, OHIO

STATE OF OHIO }
COUNTY OF MONTGOMERY )

AFFIDAVIT IN SUPPORT OF SEARCH WARRANT

i, JOSEPH ROSSITER, HAVING BEEN DULY SWORN, DEPOSE AND STATE: [| arm a United States
Postal inspector and have been since May 2016. ft arn presently assigned to the Cincinnati Field Office of
the United Stetes Postal Inspection Service, Pittsburgh Division, with investigative responsibility for
southeast indiana and southern Ohio. Part of ry responsibility involves investigating the use of the United
States Mail in the transportation of narcotics, other dangerous controlled substences, and financial

proceeds from, or instrumentalities used in, the sale of such narcatics and controlled substances

(hereinafter, “Drugs and/or Proceeds’).

Based on my training and experience as a United States Postal Inspector, 1 have become aware that drug
traffickers frequently use United States Priority Mail Express (overnight) or Priority Mail (2-3-day) to
transport Drugs and/or Proceeds. Additionally, as a resuit of prior investigations and successful
controlied-substance prosecutions invelving the use of the United States Mail, | have learned of certain
characteristics and/or circumstances indicating that a package may contain Drugs and/or Proceeds.
These circumstances and/or characteristics include, but are not necessarily limited to, the follawing: the
mailer uses cifferent post offices on the same day to send packages, the return address is faise ar non-
existent, the addressee is not known to receive mail at the listed delivery address, the package is heavily
taped, the package is mailed from a known drug source location, the labeling information contains
misspellings, the label contains an illegible waiver signature, unusual odors are emanating from the

packace, and the listed address is located in an area of known or suspected drug activity.
Case: 3:19-mj-00488-MJN Doc #: 1 Filed: 08/09/19 Page: 3 of 5 PAGEID #: 3

On August 9, 2019, | intercepted a package (hereinafter, the “Package”) at the Paul Laurence Dunbar
Post Office in Dayton, OH. The Package is a Prionty Mail Box, bearing tacking number
9505514461839219574567, postmarked August 7, 2079, with the following address informetian:

Sender: MARKus Lewis
4326 LAural CANYON #71
Studio City, CA. 91604
Addressee: Staten Femily

1310 DANNer Ave.
DAYPON OH. 45417

Through training and experience, i am aware that Southern California is a known crug source location.

i did a chack in CLEAR of the addressee’s information on the Package of Staten Family 1310 DANNer
Ave. DAYTON OH. 45417. CLEAR is a law enforcement database that is used as a tooi for investigators
io identify persen/business and address information. According to CLEAR, there is no “Staten” associated

with 1310 Danner Ave, Dayten, OH 45417.

| also did a check in CLEAR of the sender's information on the Package of MARKus Lewis 4326 LAurel
CANYON #1 Studio CHy, CA. 91604. According to CLEAR, there is no “Markus Lewis” associated with

4326 Laurel Canyon #1, Studio City, CA 91604.

Later on August 9, 20179, at my request, Montgomery County Sherriff's Office Detective Anthony Huison
conducted a narcotics-detection canine check of the Package. | was present for the check. The Package
was placed in a controlled area anc presented to narcotics-detection canine, “Guriner.” As set forth in the
attached affidavit of Detective Hutson, “Gunner” alerted positively to the presence or odor of @ narcotic ar

other controlled substance.

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Case: 3:19-mj-00488-MJN Doc #: 1 Filed: 08/09/19 Page: 4 of 5 PAGEID #: 4

Based on my training and experience as a United States Postal Inspector, the Package’s address
information, inciuding (i) absence of a known association between the sender and the return address, (if
absence of a known association between the acicressee and the recipient address, and (iii} the pasitive

alert of the narcotics-detection canine are indicative of Drugs and/or Proceeds in the Package.
Therefore, a search warrant to open the Package is requested.

Further, your affiant sayeth naught.

VE

Joseph L. Rossiter
Postal Inspector

     
   
 

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Subscribed and sworn

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day off ee 2019.

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Honorable Michael J. Newman *
United States Magistrate Judge —

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Case: 3:19-mj-00488-MJN Doc #: 1 Filed: 08/09/19 Page: 5 of 5 PAGEID #: 5

UNITED STATES POSTAL INSPECTION SERVICE

 

PITTSBURGH DIVISION

OFFICER AFFIDAVIT

|, Officer ANTHONY HUTSON, am and have been employed by the MONTGOMERY
COUNTY SHERIFF’S OFFICE since 1998. Among other duties, | am currently the
assigned handler of narcotics detection canine “GUNNER* which is trained and certified in
the detection of the presence or odor of narcotics described as follows:
Marijuana, Cocaine, Methamphetamine, and Heroin
On 2 5 ~\%, at the request of Postal Inspector RegS Hy, | responded to the
DAYTON P&DC, where “GUNNER‘ did alert to and indicate upon: [describe item]

S205 E144 GIB G 2/9 5 7BE 2
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zag LALe! Can yop #/ 13 _Danter Ave

Cheha O Lys LA. GLL0Y Dn yTons OY. EY/>

Which, based upon my training and experience and that of “GUNNER’*, indicates there is

 

contained within or upon the above described item, the presence or odor of a narcotic or

other controlled substance.

wf TGA LE ror PF BG

(Signature, Badge #, and Date)

JAE LSEUe

Witness/Date)

Cincinnati Field Office

895 Central Avenue STE 400
Cincinnati, OH 45202-5748
Telephone: 877-876-2455
FAX: 513-684-8009
